             Case 8:23-bk-10571-SC                   Doc 146 Filed 06/26/23 Entered 06/26/23 16:12:43                                       Desc
                                                      Main Document     Page 1 of 7



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
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    Proposed Special Counsel to Richard A. Marshack,
    Chapter 11 Trustee

         Individual appearing without an attorney
         Attorney for:

                                              UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

    In re:                                                                      CASE NO.: 8:23-bk-10571-SC
                                                                                CHAPTER: 11
    The Litigation Practice Group, PC,
                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion1):
                                                                                APPLICATION PURSUANT TO 11 U.S.C. SECTION
                                                                                327(a) AUTHORIZING THE RETENTION AND
                                                                                EMPLOYMENT OF DINSMORE & SHOHL LLP AS
                                                                                SPECIAL COUNSEL FOR CHAPTER 11 TRUSTEE
                                                                  Debtor(s)     RICHARD A. MARSHACK


PLEASE TAKE NOTE that the order titled ORDER APPROVING APPLICATION PURSUANT TO 11 U.S.C. SECTION 327(a)
AUTHORIZING THE RETENTION AND EMPLOYMENT OF DINSMORE & SHOHL LLP AS SPECIAL COUNSEL FOR
CHAPTER 11 TRUSTEE RICHARD A. MARSHACK
was lodged on (date) June 26, 2023 and is attached. This order relates to the motion which is docket number 90.




1
    Please abbreviate if title cannot fit into text field.

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December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
Case 8:23-bk-10571-SC         Doc 146 Filed 06/26/23 Entered 06/26/23 16:12:43                Desc
                               Main Document     Page 2 of 7


  1   Christopher Celentino (State Bar No. 131688)
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  5   Proposed Special Counsel to the Chapter 11 Trustee,
      Richard A. Marshack
  6

  7

  8

  9                             UNITED STATES BANKRUPTCY COURT

 10                 CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 11

 12    In re:                                              Case No. 8:23-bk-10571-SC

 13    THE LITIGATION PRACTICE GROUP P.C., Chapter 11

 14              Debtor.                                   ORDER APPROVING APPLICATION
                                                           PURSUANT TO 11 U.S.C. SECTION
 15                                                        327(a) AUTHORIZING THE RETENTION
                                                           AND EMPLOYMENT OF DINSMORE &
 16                                                        SHOHL LLP AS SPECIAL COUNSEL
                                                           FOR CHAPTER 11 TRUSTEE RICHARD
 17                                                        A. MARSHACK

 18                                                        Date:    No Hearing Required
                                                           Time:
 19                                                        Ctrm:    5C
                                                                    411 West Fourth Street, Suite 5130
 20                                                                 Santa Ana, California, 92701-4593
                                                           Judge:   Hon. _Scott C. Clarkson
 21

 22

 23             The Bankruptcy Court having reviewed the Application (the "Application") of chapter 11

 24   trustee, Richard A. Marshack (the "Trustee"), for the above-captioned debtor, The Litigation

 25   Practice Group P.C. (the "Debtor") for authority to retain and employ the law firm of Dinsmore &

 26   Shohl LLP ("Dinsmore") as special counsel for the Trustee, and the Bankruptcy Court finding that

 27   notice of the Application was proper, that no objection to the Application was timely made, that

 28   Dinsmore is disinterested and does not hold any interest adverse to the estate or to the Trustee, and

                                                       1
Case 8:23-bk-10571-SC        Doc 146 Filed 06/26/23 Entered 06/26/23 16:12:43                 Desc
                              Main Document     Page 3 of 7


  1   that Dinsmore's employment is in the best interest of the Trustee and the within bankruptcy estate,

  2   and good cause appearing therefor:

  3          IT IS ORDERED that the Application be, and hereby is, granted.

  4          IT IS ORDERED that the Trustee is authorized to employ Dinsmore as his special counsel

  5   effective as of to May 8, 2023 to perform the services set forth in the Application, with compensation

  6   to be paid by the within bankruptcy estate pursuant to and upon further Bankruptcy Court approval.

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        Case 8:23-bk-10571-SC                    Doc 146 Filed 06/26/23 Entered 06/26/23 16:12:43                                       Desc
                                                  Main Document     Page 4 of 7



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June
26, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                  Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On June 26, 2023, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on June 26, 2023, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

JUDGE'S COPY:
Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593
                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 June 26, 2023                         Caron Burke
 Date                            Printed Name                                                    Signature




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June 2012                                                                                           F 9013-.1.PROOF.SERVICE
       Case 8:23-bk-10571-SC                     Doc 146 Filed 06/26/23 Entered 06/26/23 16:12:43                                       Desc
                                                  Main Document     Page 5 of 7


1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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June 2012                                                                                           F 9013-.1.PROOF.SERVICE
       Case 8:23-bk-10571-SC                     Doc 146 Filed 06/26/23 Entered 06/26/23 16:12:43                                       Desc
                                                  Main Document     Page 6 of 7


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June 2012                                                                                           F 9013-.1.PROOF.SERVICE
       Case 8:23-bk-10571-SC                     Doc 146 Filed 06/26/23 Entered 06/26/23 16:12:43                                       Desc
                                                  Main Document     Page 7 of 7


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